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              IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF INDIANA
                        HAMMOND DIVISION

UNITED STATES OF AMERICA             )
                                     )
Plaintiff,                           )
                                     )
vs.                                  )         CAUSE NO. 2:10-CR-109
                                     )
ALEXANDER VARGAS,                    )
                                     )
Defendant.                           )

                                     ORDER

       This   matter   is   before       the    Court   on   the    Findings      and

 Recommendation of the Magistrate Judge Upon a Plea of Guilty by

 Defendant Alexander Vargas (DE #391) filed on February 03, 2012.

 No objections have been filed to Magistrate Judge Rodovich’s

 findings and recommendations upon a plea of guilty.                  Accordingly,

 the Court now ADOPTS those findings and recommendations, ACCEPTS

 the guilty plea of Defendant Alexander Vargas, and FINDS the

 Defendant guilty of Counts 1, 2, 6, 7, 8 and 9 of the third

 superseding indictment.

       This matter is set for sentencing on December 6, 2012, at

 1:00 p.m.



 DATED: February 14, 2012                      /s/RUDY LOZANO, Judge
                                               United States District Court
